        Case 3:20-cv-04688-RS        Document 310      Filed 05/02/23        Page 1 of 7




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18                              UNITED STATES DISTRICT COURT
19                             NORTHERN DISTRICT OF CALIFORNIA
20                                   SAN FRANCISCO DIVISION
21   ANIBAL RODRIGUEZ, et al. individually and on        Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
22                                                       JOINT STIPULATION AND
                                 Plaintiff,              [PROPOSED] ORDER FOR RELIEF
23
            vs.                                          FROM CASE MANAGEMENT
24                                                       SCHEDULE
     GOOGLE LLC,
25                                                       Judge: Hon. Richard Seeborg
                                 Defendant.              Courtroom: 3, 17th Floor
26

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                  JOINT STIPULATION FOR RELIEF FROM CASE MANAGEMENT SCHEDULE
                                       Case No. 3:20-CV-04688-RS
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 1           Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs Anibal Rodriguez, et al.

 2   (“Plaintiffs”) and Defendant Google LLC (“Google”), collectively, the “Parties” submit this joint

 3   stipulation.

 4           WHEREAS, on November 22, 2021, the Court granted Plaintiffs’ Motion for Relief from

 5   Case Management Schedule, extending the deadlines for the close of fact discovery, initial expert

 6   witness disclosures, rebuttal expert witness disclosures, and the close of expert discovery (Dkt.

 7   180);

 8           WHEREAS, on February 1, 2022, the Parties stipulated to a new class certification

 9   briefing schedule and hearing date consistent with the Court’s November 22, 2021 order (Dkt.

10   214), which the Court entered on February 1, 2022 (Dkt. 215);

11           WHEREAS, on May 20, 2022 (Dkt. 243), the Parties stipulated to an extension of all

12   discovery deadlines and the class certification briefing and hearing schedule to allow the Parties to

13   complete ordered and pursued discovery, which the Court entered the same day (Dkt. 244);

14           WHEREAS, on August 11, 2022, the Parties stipulated to extend deadlines for discovery,

15   class certification briefing schedule and hearing date (Dkt. 245), which the Court entered that

16   same day (Dkt. 246);

17           WHEREAS, on December 21, 2022, Plaintiffs filed a Motion for Relief from the Case

18   Management Schedule (the “Motion”), seeking to extend the deadlines for service of opening

19   expert reports by two months (Dkt. 279);

20           WHEREAS, on December 23, 2022, the Court partially granted the Motion, extending the

21   deadlines for service of opening expert reports by one month and maintaining the briefing

22   schedule on Plaintiffs’ request for a longer extension (Dkt. 282);

23           WHEREAS, on January 3, 2023, the Parties filed a joint stipulation informing the Court of

24   the Parties’ negotiations over the case schedule and extending the deadline for Google to oppose

25   the Motion (Dkt. 288), which the Court entered on January 5, 2023 (Dkt. 290);

26           WHEREAS, on January 12, 2023 the Parties filed a Joint Stipulation representing that

27   Plaintiffs withdrew the Motion (Dkt. 279), the deadline for all opening expert reports would

28   remain February 20, 2023, except: the expert report where Plaintiffs would address the data
                                                       1
                JOINT STIPULATION FOR RELIEF FROM CASE MANAGEMENT SCHEDULE
                                        Case No. 3:20-CV-04688-RS
        Case 3:20-cv-04688-RS          Document 310         Filed 05/02/23       Page 3 of 7




 1   produced as a result of the Data Production Process would be due four weeks after the date when

 2   Google completed all productions for this process and Google would have an extension of

 3   equivalent length for its report(s) that rebutted Plaintiffs’ report related to the Data Production

 4   Process, and the case management schedule (Dkt. 246) would remain otherwise unchanged (Dkt.

 5   300), which the Court entered on January 13, 2023 (Dkt. 301);

 6          WHEREAS, Google represents that Plaintiffs’ report related to the Data Production

 7   Process affected Google’s experts’ rebuttal to Plaintiffs’ other reports, and Google asked Plaintiffs

 8   to agree to extensions of the rebuttal deadline for all reports, which in turn required slight

 9   modifications to the remaining schedule;

10          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

11   Parties to this action, and pursuant to Civil Local Rules 6-2 and 7-12, that the case management

12   schedule be amended as follows:

13                              EVENT                           CURRENT            PROPOSAL
14           Google’s Rebuttal Reports (all except              May 1, 2023        May 31, 2023
             Hochman)
15           Google’s Rebuttal to Hochman Report               May 31, 2023        May 31, 2023
16           Close of Expert Discovery (ECF No. 301)            June 2, 2023       July 14, 2023
17           Class Certification Motion (ECF No. 301)           June 9, 2023       July 20, 2023

18           Class Certification Opposition (ECF No.            July 14, 2023     August 24, 2023
             301)
19           Class Certification Reply (ECF No. 301)          August 11, 2023 September 21,
                                                                                   2023
20
             Class Certification Hearing (ECF No. 301)        August 24, 2023 October 5, 2023
21                                                             at 1:30 p.m.

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23          A Proposed Order is submitted concurrently herewith.

24          IT IS SO STIPULATED.

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                JOINT STIPULATION FOR RELIEF FROM CASE MANAGEMENT SCHEDULE
                                         Case No. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS   Document 310      Filed 05/02/23     Page 4 of 7




 1
     DATED: May 2, 2023                WILLKIE FARR & GALLAGHER, LLP
 2
                                                By: /s/ Benedict Y. Hur
 3
                                                    Benedict Y. Hur
 4
                                                Attorneys for Defendant Google LLC
 5

 6   DATED: May 2, 2023                         By: _/s/ Mark Mao____________
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             JOINT STIPULATION FOR RELIEF FROM CASE MANAGEMENT SCHEDULE
                                Case No. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS           Document 310           Filed 05/02/23      Page 5 of 7




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                                                            Attorneys for Plaintiff
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18                                       FILER’S ATTESTATION

19          Pursuant to Civil Local Rule 5.1, I attest that all signatories listed, and on whose behalf this
20   filing is submitted, concur in the filing’s content and have authorized this filing.
21

22   DATED: May 2, 2023                            WILLKIE, FARR & GALLAGHER LLP

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24
                                                   /s/ Benedict Y. Hur
25                                                 Benedict Y. Hur

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                                                        4
                JOINT STIPULATION FOR RELIEF FROM CASE MANAGEMENT SCHEDULE
                                         Case No. 3:20-CV-04688-RS
        Case 3:20-cv-04688-RS        Document 310      Filed 05/02/23        Page 6 of 7




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20                              UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA

22                                   SAN FRANCISCO DIVISION

23   ANIBAL RODRIGUEZ, et al. individually and on        Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
24                                                       [PROPOSED] ORDER GRANTING
                                 Plaintiff,              RELIEF FROM CASE MANAGEMENT
25                                                       SCHEDULE
            vs.
26
     GOOGLE LLC,                                         Judge: Hon. Richard Seeborg
27                                                       Courtroom: 3, 17th Floor
                                 Defendant.
28

            [PROPOSED] ORDER GRANTING RELIEF FROM CASE MANAGEMENT SCHEDULE
                                       Case No. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS       Document 310          Filed 05/02/23     Page 7 of 7




 1         Pursuant to stipulation of the Parties, the Court hereby ORDERS that the new Case
 2   Management Schedule be entered as follows:

 3                           EVENT                          CURRENT           PROPOSAL
 4          Google’s Rebuttal Reports (all except           May 1, 2023       May 31, 2023
            Hochman)
 5          Google’s Rebuttal to Hochman Report            May 31, 2023       May 31, 2023
 6          Close of Expert Discovery (ECF No. 301)         June 2, 2023      July 14, 2023
 7          Class Certification Motion (ECF No. 301)        June 9, 2023      July 20, 2023

 8          Class Certification Opposition (ECF No.        July 14, 2023     August 24, 2023
            301)
 9          Class Certification Reply (ECF No. 301)       August 11, 2023 September 21,
                                                                               2023
10
            Class Certification Hearing (ECF No. 301)     August 24, 2023 October 5, 2023
11                                                         at 1:30 p.m.

12

13   IT IS SO ORDERED.

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16   Dated: ________________                            ____________________________________
                                                        Honorable Richard Seeborg
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           [PROPOSED] ORDER GRANTING RELIEF FROM CASE MANAGEMENT SCHEDULE
                                     Case No. 3:20-CV-04688-RS
